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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                      )
         In re:                                                       )    Chapter 11
                                                                      )
         HIGH RIDGE BRANDS CO., et al., 1                             )    Case No. 19–12689 (BLS)
                                                                      )
                                                                      )    (Jointly Administered)
                                     Debtors.                         )
                                                                      )

             NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED FOR HEARING ON
                             FEBRUARY 26, 2020, AT 12:30 P.M. (ET)

                    PLEASE NOTE THE TIME OF THE HEARING HAS CHANGED FROM
                                 11:30 A.M. (ET) TO 12:30 P.M. (ET).

         ADJOURNED\RESOLVED MATTERS

         1.        Application for Entry of an Order Authorizing the Retention and Employment of Katten
                   Muchin Rosenman LLP as Counsel to the Official Committee of Unsecured Creditors
                   Effective Nunc Pro Tunc to December 30, 2019 [D.I. 161, 1/31/20]

                   Objection Deadline: February 14, 2020, at 4:00 p.m. (ET)

                   Objections Filed:          None

                   Related Documents:

                            A.       Certificate of No Objection [D.I. 230, 2/18/20]

                            B.       Order Authorizing the Retention and Employment of Katten Muchin
                                     Rosenman LLP as Counsel to the Official Committee of Unsecured
                                     Creditors Effective Nunc Pro Tunc to December 30, 2019 [D.I. 235,
                                     2/19/20]

                   Status: An order has been entered. No hearing is required.

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              The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: High Ridge Brands Holdings, Inc. (5996); HRB Midco, Inc. (8170); HRB Buyer, Inc. (3945); High
             Ridge Brands Co. (5871); Golden Sun, Inc. (4712); Continental Fragrances, Ltd. (2541); Freshcorp, Inc. (3238);
             Children Oral Care, LLC (disregarded entity for tax purposes); and Dr. Fresh, LLC (5167). The mailing address
             for each of the Debtors is 333 Ludlow Street, South Tower, 2nd Floor, Stamford, Connecticut 06902.

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              Amendments appear in bold.


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         2.   Application for Entry of an Order Authorizing the Retention and Employment of FTI
              Consulting, Inc. as Financial Advisor to the Official Committee of Unsecured Creditors
              Effective Nunc Pro Tunc to December 30, 2019 [D.I. 162, 1/31/20]

              Objection Deadline: February 14, 2020, at 4:00 p.m. (ET)

              Objections Filed:

                     A.     Informal Response of United States Trustee

              Related Documents:

                     A.     Certification of Counsel [D.I. 229, 2/18/20]

                     B.     Order Authorizing the Retention and Employment of FTI Consulting, Inc.
                            as Financial Advisor to the Official Committee of Unsecured Creditors
                            Effective Nunc Pro Tunc to December 30, 2019 [D.I. 234, 2/19/20]

              Status: An order has been entered. No hearing is required.

         3.   Application of the Official Committee of Unsecured Creditors of High Ridge Brands Co.,
              et al., for Entry of an Order Authorizing the Employment and Retention of Potter
              Anderson & Corroon LLP as Delaware Counsel Nunc Pro Tunc to December 30, 2019
              [D.I. 163, 1/31/20]

              Objection Deadline: February 14, 2020, at 4:00 p.m. (ET)

              Objections Filed:     None

              Related Documents:

                     A.     Certificate of No Objection [D.I. 231, 2/18/20]

                     B.     Order Authorizing the Employment and Retention of Potter Anderson &
                            Corroon LLP as Delaware Counsel to the Official Committee of
                            Unsecured Creditors of High Ridge Brands Co., et al., Nunc Pro Tunc to
                            December 30, 2019 [D.I. 236, 2/19/20]

              Status: An order has been entered. No hearing is required.

         4.   Motion of Maricela Martinez for Relief from Stay Under Section 362 of the Bankruptcy
              Code [D.I. 207, 2/12/20]

              Objection Deadline: February 19, 2020, at 4:00 p.m. (ET), extended for the Debtors to
                                  March 19, 2020, at 4:00 p.m. (ET)

              Objections Filed:     None to date



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                    Status: This matter has been adjourned by agreement of the parties to the hearing
                            currently scheduled for March 26, 2020, at 10:30 a.m. (ET).

         UNCONTESTED WITH CERTIFICATE OF NO OBJECTION

         5.         ABGI Corp.’s Motion for Entry of an Order, Pursuant to Section 107(b) of the
                    Bankruptcy Code, Bankruptcy Rule 9018 and Local Rule 9018-1(b), Authorizing ABGI
                    Corp. to File Under Seal the Limited Objection by ABGI Corp. to Debtors’ Notice,
                    Supplemental Notice and Second Supplemental Notice of Possible Assumption and
                    Assignment of Certain Executory Contracts and Unexpired Leases in Connection With
                    Sale; and ABGI Corp.’s Demand for Adequate Assurance of Future Performance
                    [D.I. 210, 2/12/20]

                    Objection Deadline: February 19, 2020, at 4:00 p.m. (ET)

                    Objections Filed:         None

                    Related Document:

                             A.       Certificate of No Objection [D.I. 244, 2/20/20]

                             B.       Order Authorizing ABGI Corp. to File Under Seal the Limited
                                      Objection by ABGI Corp. to Debtors’ Notice, Supplemental Notice
                                      and Second Supplemental Notice of Possible Assumption and
                                      Assignment of Certain Executory Contracts and Unexpired Leases in
                                      Connection With Sale; and ABGI Corp.’s Demand for Adequate
                                      Assurance of Future Performance [D.I. 252, 2/24/20]

                    Status: An order has been entered. No hearing is required.

         MATTER GOING FORWARD

         6.         Debtors’ Motion for Entry of (A) an Order (I) Approving Bidding Procedures in
                    Connection with the Sale of Substantially All of the Debtors’ Assets; (II) Scheduling an
                    Auction for and Hearing to Approve Sale of Substantially All of the Debtors’ Assets;
                    (III) Approving Notice of Respective Date, Time and Place for Auction and for Hearing
                    on Approval of Sale; (IV) Approving Procedures for the Assumption and Assignment of
                    Certain Executory Contracts and Unexpired Leases; (V) Approving Form and Manner of
                    Notice Thereof; and (VI) Granting Related Relief; and (B) An Order Authorizing and
                    Approving (I) the Sale of Substantially All of the Debtors’ Assets Free and Clear of
                    Liens, Claims, Rights, Encumbrances, and Other Interests; and (II) the Assumption and
                    Assignment of Certain Executory Contracts and Unexpired Leases; and (III) Related
                    Relief [D.I. 55, 12/23/19] (the “Sale Motion”)3



         3
              Capitalized terms used herein, but not otherwise defined, have the meanings given to them in the Sale Motion


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             Objection Deadline: February 19, 2020, at 4:00 p.m. (ET) for objections to the Sale and
                                 the relief requested in connection with the Sale. At or before the
                                 sale hearing for objections to (i) the conduct of the Auction or
                                 (ii) solely with respect to the Non-Debtor Counterparties to the
                                 Contracts, to the specific identity of and adequate assurance of
                                 future performance provided by the Successful Bidder with respect
                                 to the applicable Assumed Contract
             Objections Filed:

                    A.     Objection of Aerofil Technology, Inc. to Cure Amount Identified in
                           Notice of Possible Assumption and Assignment of Certain Executory
                           Contracts and Unexpired Leases in Connection with Sale [D.I. 156,
                           1/30/20]

                    B.     Response by VVF Kansas Services, LLC to Notice of Possible
                           Assumption and Assignment of Certain Executory Contracts and
                           Unexpired Leases in Connection with Sale [D.I. 165, 2/3/20]

                    C.     Limited Objection by ABGI Corp. to Debtors’ Notice, Supplemental
                           Notice and Second Supplemental Notice of Possible Assumption and
                           Assignment of Certain Executory Contracts and Unexpired Leases in
                           Connection With Sale; and ABGI Corp.’s Demand for Adequate
                           Assurance of Future Performance [D.I. 209, 2/12/20]

             Related Documents:

                    A.     Notice of Possible Assumption and Assignment of Certain Executory
                           Contracts and Unexpired Leases in Connection with Sale [D.I. 121,
                           1/16/20]

                    B.     Notice of (I) Revised Proposed Bid Deadline, Auction Date, and Other
                           Sale-Related Deadlines, and (II) Sale Hearing [D.I. 153, 1/29/20]

                    C.     Supplemental Notice of Possible Assumption and Assignment of Certain
                           Executory Contracts and Unexpired Leases in Connection with the Sale
                           [D.I. 154, 1/29/20]

                    D.     Second Supplemental Notice of Possible Assumption and Assignment of
                           Certain Executory Contracts and Unexpired Leases in Connection with the
                           Sale [D.I. 169, 2/4/20]




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                    E.      Order (I) Approving Bidding Procedures in Connection With the Sale of
                            Substantially All of the Debtors’ Assets; (II) Scheduling an Auction for
                            and Hearing to Approve Sale of Substantially all of the Debtors’ Assets;
                            (III) Approving Notice of Respective Date, Time and Place for Auction
                            and for Hearing on Approval of Sale; (IV) Approving Procedures for the
                            Assumption and Assignment of Certain Executory Contracts and
                            Unexpired Leases; (V) Approving Form and Manner of Notice Thereof;
                            and (VI) Granting Related Relief [D.I. 173, 2/7/20]

                    F.      Notice of Sale, Bidding Procedures, Auction, and Sale Hearing [D.I. 175,
                            2/7/20]

                    G.      Notice of Filing of Proposed Form of Sale Order [D.I. 211, 2/12/20]

                    H.      Third Supplemental Notice of Possible Assumption and Assignment of
                            Certain Executory Contracts and Unexpired Leases in Connection with the
                            Sale [D.I. 218, 2/13/20]

                    I.      Notice of Successful Bidders and Back-Up Bidders [D.I. 247, 2/24/20]

                    J.      Notice of Service of Adequate Assurance Information [D.I. 260,
                            2/24/20]

                    K.      Notice of Proposed Sale Orders [D.I. 262, 2/25/20]

                    L.      Notice of Service of Adequate Assurance Information [D.I. 273,
                            2/25/20]

                    M.      Notice of Filing of Draft Asset Purchase Agreements and Draft
                            Transition Services Agreement [D.I. 274, 2/26/20]

                    N.      Declaration of M. Benjamin Jones in Support of Sale [D.I. 275,
                            2/26/20]

                    O.      Declaration of John Singh in Support of Sale [D.I. 276, 2/26/20]

             Status: This matter will be going forward.




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         Dated: February 26, 2020          YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                           /s/ Ian J. Bambrick
                                           Robert S. Brady (No. 2847)
                                           Edmon L. Morton (No. 3856)
                                           Ian J. Bambrick (No. 5455)
                                           Allison S. Mielke (No. 5934)
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                                           Counsel to the Debtors




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